B2830 (Form 2830) (12/15)
                                                     UNITED STATES BANKRUPTCY COURT
                                                                       DISTRICT OF KANSAS

            Mark H. Engen
 In re      Maureen E. Engen                                                                                          Case No.        15-20184-rdb-13
                                                                                    Debtor(s)



                                         CHAPTER 13 DEBTOR'S CERTIFICATIONS REGARDING
                                        DOMESTIC SUPPORT OBLIGATIONS AND SECTION 522(q)

Part I. Certification Regarding Domestic Support Obligations (check no more than one)

            Pursuant to 11 U.S.C. Section 1328(a), I certify that:

                  I owed no domestic support obligation when I filed my bankruptcy petition, and I have not been required to
            pay any such obligation since then.

                  I am or have been required to pay a domestic support obligation. I have paid all such amounts that my
            chapter 13 plan required me to pay. I have also paid all such amounts that became due between the filing of my
            bankruptcy petition and today.

Part II. If you checked the second box, you must provide the information below.

             My current address:

             My current employer and my employer's address:


Part III. Certification Regarding Section 522(q) (check no more than one)

            Pursuant to 11 U.S.C. Section 1328(h), I certify that:

                 I have not claimed an exemption pursuant to §522(b)(3) and state or local law (1) in property that I or a
            dependent of mine uses as a residence, claims as homestead, or acquired as a burial plot, as specified in
            §522(p)(1), and (2) that exceeds $155,675* in value in the aggregate.

                 I have claimed an exemption in property pursuant to §522(b)(3) and state or local law (1) that I or a
            dependent of mine uses as a residence, claims as a homestead, or acquired as a burial plot, as specified in
            §522(p)(1), and (2) that exceeds $155,675* in value in the aggregate.

Part IV. Debtor's Signature

                  I certify under penalty of perjury that the information provided in these certifications is true and correct to
            the best of my knowledge and belief.

             Executed on            April 8, 2020                                                   /s/ Mark H. Engen
                                         Date                                                       Mark H. Engen
                                                                                                                                  Debtor




*Amounts are subjected to adjustment on 4/01/16, and every 3 years thereafter with respect to cases commenced on or after the date of adjustment..

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             Executed on            April 8, 2020                                                   /s/ Maureen E. Engen
                                         Date                                                       Maureen E. Engen
                                                                                                                                  Debtor




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